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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------- X
                                                             :
   UNITED STATES OF AMERICA,                                 :
                                                             : MEMORANDUM DECISION AND
                         - against -                         : ORDER
                                                             :
   AL MALIK ALSHAHHI, et al.,                                : 21-cr-371 (BMC)
                                                             :
                                       Defendants.           :
                                                             :
  ---------------------------------------------------------- X

  COGAN, District Judge.

         Before the Court is the Government’s [197] motion in limine to preclude defendants from

  inquiring about classified information at trial, and defendant Matthew Grimes’s Classified

  Information Procedures Act (“CIPA”) § 5 notice. Grimes filed his CIPA § 5 notice because he

  plans to ask certain questions at trial that he expects will elicit classified information. See 18

  U.S.C. App. III § 5. Both the Government’s motion and Grimes’s notice arise from Grimes’s

  desire to show, in essence, that the Government has no evidence that any United Arab Emirates

  (“UAE”) officials considered him an agent.

         The Government’s motion is granted and a CIPA hearing on defendant’s proffered line of

  questioning is denied. Whether the Government has the type of classified information Grimes

  seeks is irrelevant. In addition, Grimes’s CIPA § 5 notice is untimely.

                                           BACKGROUND

         Thomas Joseph Barrack previously served as the Executive Chairman of a global

  investment management firm. During that time, he was an informal advisor to the presidential

  campaign of Donald J. Trump, and later, the Trump Administration. Grimes reported directly to

  Barrack at the firm, first as an Analyst, and then as a Vice President. During the pendency of the
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  Trump Campaign, Barrack and Grimes, working through Rashid Sultan Rashid Al Malik

  Alshahhi (“Al Malik”), allegedly made contact with senior UAE national security officials and,

  at their direction, agreed to influence public opinion and the foreign policy positions of the

  Trump Campaign; relay non-public information about the foreign policy positions and decisions

  of the Trump Campaign; develop a backchannel line of communication with the Trump

  Campaign on behalf of the UAE government; and design plans to increase the UAE’s political

  influence and promote its foreign policy preferences.

         The Government contends that defendants’ work for the UAE continued after the

  inauguration of President Trump in January 2017. As part of these continued efforts, the

  Government alleges that, among other actions, Grimes agreed to seek to list the Muslim

  Brotherhood as a foreign terrorist organization at Al Malik’s direction; defendants arranged for

  President Trump to speak on the telephone with a senior UAE official; Barrack and Grimes

  agreed to advocate for a UAE-favored individual to be appointed to a senior position in the

  Trump Administration; and Barrack divulged non-public information to Al Malik and UAE

  officials about his potential appointment to a senior position in the Trump Administration and

  about internal discussions in the Trump Administration concerning the blockade of Qatar by the

  UAE and other Middle Eastern governments.

         In a superseding indictment, the Government subsequently charged Barrack and Grimes

  with acting and conspiring to act as agents of the UAE without providing prior notification to the

  Attorney General. The Government has also charged Barrack with obstruction of justice and

  making material false statements to FBI special agents in connection with a 2019 voluntary

  interview.




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            Subsequently, as part of its discovery to defendants, the Government disclosed pursuant

  to CIPA § 4 (concerning discovery of classified information by defendants) that it conducted a

  search of all potentially relevant records to make sure that exculpatory evidence did not exist in

  any classified documents. For reasons of national security, the Government will not confirm or

  deny that it found any classified information concerning Barrack and Grimes. However, the

  Court performed its review of the classified material under CIPA § 4, and was satisfied that the

  Government had met its obligations to produce what is required by Brady v. Maryland, 373 U.S.

  83 (1963), and Giglio v. United States, 405 U.S. 150 (1972), Fed. R. Crim. P. 16, and 18 U.S.C.

  § 3500.

         Grimes has sought additional information from the Government regarding its classified

  records. He believes that a dearth of such records would be evidence of his innocence because it

  shows that neither the UAE nor the U.S. Government considered him an agent of the UAE.

  After Grimes failed to obtain a stipulation from the Government that no records exist – the

  Government would not, for national security reasons, confirm or deny the existence of such

  material – the Government moved in limine to preclude any questioning about classified

  information at trial. Soon after, and only eleven days before trial, pursuant to CIPA § 5, Grimes

  provided notice of his intention to ask questions at trial that risked publicly disclosing classified

  information. Grimes’s CIPA § 5 notice states that his counsel plans to ask certain witnesses to

  testify about whether they have reviewed classified documents that discuss Grimes or any of his

  contacts with UAE officials.

                                             DISCUSSION

         CIPA’s fundamental purpose is to “harmonize a defendant’s right to obtain and present

  exculpatory material [at] trial and the government’s right to protect classified material in the




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  national interest.” United States v. Pappas, 94 F.3d 795, 799 (2d Cir. 1996) (citation and internal

  quotations omitted). Under CIPA, when exculpatory classified information exists, the

  Government has three choices: it can provide the information, produce an accurate summary to

  give the defendant substantially the same ability to make his defense as would disclosure of the

  specific classified information, or dismiss the case. See Am. C.L. Union v. Dep't of Just., 681

  F.3d 61, 72 (2d Cir. 2012); United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005) (in a

  Section 951 case, affirming the district court’s approval of a substitution for classified

  information where the substitution provided defendant with “substantially the same ability to

  make his defense as would disclosure of the specific classified information”); United States v.

  Moussaoui, 365 F.3d 292, 313-14 (4th Cir. 2004) (“We believe that the standard set forth in

  CIPA adequately conveys the fundamental purpose of a substitution: to place the defendant, as

  nearly as possible, in the position he would be in if the classified information (here, the

  depositions of the witnesses) were available to him.”).

         However, CIPA neither creates new discovery rights nor expands the rules governing the

  admissibility of evidence. See Dumeisi, 424 F.3d at 578 (“CIPA does not create any discovery

  rights for the defendant”); United States v. Johnson, 139 F.3d 1359, 1365-66 (11th Cir. 1998);

  United States v. Smith, 780 F.2d 1102, 1106 (4th Cir. 1985) (en banc). Rather, CIPA applies

  existing procedures governing the scope of discovery in criminal cases to classified information,

  and it restricts discovery of classified information to protect the Government’s national security

  interests. See United States v. Aref, 533 F.3d 72, 78 (2d Cir. 2008); United States v. Baptista-

  Rodriguez, 17 F.3d 1354, 1363-64 (11th Cir. 1994); United States v. Yunis, 867 F.2d 617, 621

  (D.C. Cir. 1989).




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         Outside of the Government’s obligation to disclose exculpatory classified material or

  provide an adequate substitution for that material (e.g., a summary), the Government has no duty

  to confirm or deny the existence of any other type of classified material that it is not going to use

  at trial. See Weatherford v. Bursey, 429 U.S. 545, 559 (1977) (“There is no general

  constitutional right to discovery in a criminal case, and Brady did not create one.”); cf. Fed. R.

  Crim. P. 16, 1975 Enactment Note B (“[A] defendant has no constitutional right to discover any

  of the prosecution’s evidence . . . unless it is exculpatory within the meaning of Brady . . . .”).

  Indeed, “[a] defendant’s right to discover exculpatory evidence does not include the

  unsupervised authority to search through the [Government’s] files.” Pennsylvania v. Ritchie,

  480 U.S. 39, 59-60 (1987).

         Federal Rule of Criminal Procedure 16 is structured around this same set of principles.

  Rule 16(a)(1)(E) requires the Government to produce documents to a defendant if:

         (i) the item is within the government’s possession, custody, or control; (ii) the
         attorney for the government knows – or through due diligence could know – that
         the item exists; and (iii) the item is material to preparing the defense or the
         government intends to use [it] in its case-in-chief at trial.

  As shown above, these discovery principles do not change simply because the discovery

  concerns possible classified documents, the existence of which the Government will not confirm

  or deny. See Dumeisi, 424 F.3d at 578; Johnson, 139 F.3d at 1365-66; Smith, 780 F.2d at 1106.

  Thus, if (hypothetically) classified inculpatory information exists regarding Grimes and Barrack

  which the Government has decided not to use it in its case-in-chief, then it certainly is not

  material to the defense. Additionally, because the Government reviewed its records for

  exculpatory material and the Court, having reviewed the material, has found that the Government

  met its discovery obligations, the only question that remains – and the Government declines to

  answer – is whether any classified material exists at all.



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         Grimes believes that this lack of an answer prevents him from obtaining critical

  exculpatory evidence – testimony or a stipulation that no classified documents concerning him

  exist. Grimes wants this evidence to argue that UAE officials, as well as U.S. law enforcement

  and intelligence officers, never discussed his work, considered him a UAE agent, or gave him a

  second’s thought. But Grimes does not need this evidence to make his point.

         The issue is not whether any inculpatory classified material concerning Grimes exists.

  Rather, the question is whether the Government will introduce any inculpatory classified

  evidence to prove its case. The burden to overcome Grimes’s presumption of innocence and

  prove his guilt beyond a reasonable doubt never shifts away from the Government. If the

  Government does not introduce a certain type of evidence at trial, which may or may not even

  exist, Grimes is free to argue that this failure means the Government has not proved its case

  beyond a reasonable doubt. Nothing prevents him from saying to the jury in closing argument

  that, “you have not seen a single document from the Government mentioning Grimes,” if the

  evidence allows that, or “one would expect that if Grimes was as deeply involved in this as the

  Government contends, there would be abundant documentation showing you that. But the

  Government hasn’t shown you any such thing.”

         Grimes can also emphasize this deficiency via carefully worded direct and cross

  examination questions. For example, Grimes may be able to ask the appropriate witnesses

  whether they “know of any evidence produced to the defense that shows UAE or US officials

  knew Grimes was a UAE agent.” This allows Grimes to emphasize that he believes this critical

  evidence is absent from the Government’s case. It also removes the risk that the existence or

  non-existence of classified material is accidently disclosed.




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         Additionally, the Government’s motion is granted because Grimes’s CIPA notice,

  provided less than two weeks before the start of trial, is not timely. CIPA § 5(a) requires

  defendants to provide a timely pretrial notice when they believe that the disclosure of classified

  information is reasonably likely based on their planned cross examination or case. See United

  States v. Wilson, 750 F.2d 7, 9 (2d Cir. 1984) (citing United States v. Collins, 720 F.2d 1195,

  1199 (11th Cir. 1983)). When no filing date is specified by the Court, the default definition for

  “timely pretrial notice” is thirty days before trial. See 18 U.S.C. App. III § 5(a). The Court did

  not specify another deadline in this case.

         There are two reasons why CIPA requires early notice by default. First, whenever the

  defense intends to introduce classified information and provide notice pursuant to CIPA § 5, the

  Government can move for a CIPA § 6 hearing. During CIPA § 6 hearings, courts make

  determinations concerning the classified material’s use, relevance, or admissibility that would

  otherwise be made during the trial or a pretrial proceeding. This should not be conducted on the

  fly. The constitutional, evidentiary, and national security concerns raised by a desire to admit

  classified evidence should be resolved before trial if possible, not in the middle of it. See

  Collins, 720 F.2d at 1196-97.

         Second, the default thirty-day period allows the Government time to weigh the costs of,

  or consider alternatives to, disclosure. See United States v. Badia, 827 F.2d 1458, 1465 (2d Cir.

  1987). Unlike evidentiary motion practice for unclassified material, many different federal

  agencies may have equities at stake when it comes to the disclosure of classified information.

  The prosecution team needs time to consider those equities. CIPA § 5(a)’s thirty-day lead time

  ensures that a defendant does not use these unique dynamics to “graymail” his prosecutors – a

  concern that Congress expressly considered when it enacted CIPA. See Collins, 720 F.2d at




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  1199, 1200 (citing S. Rep. No. 823, 96th Cong., 2d Sess. 4 (1980), reprinted in 1980 U.S. Code

  Cong. & Ad. News 4294, 4296-98).

           Grimes’s counsel has been openly considering this trial strategy since July 28, 2022, at

  the latest, and has been seeking classified information for far longer. By failing to timely file his

  notice, Grimes’s counsel left the Court no time to conduct the subsequent CIPA § 6 hearing in

  advance of trial and, inadvertently, caused the very predicament that Congress created CIPA to

  avoid.

           The Government’s motion in limine to preclude defendants from inquiring about

  classified information at trial is therefore GRANTED.

  SO ORDERED.                                Digitally signed by Brian M.
                                             Cogan
                                              ______________________________________
                                                                   U.S.D.J.
  Dated: Brooklyn, New York
         September 14, 2022




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